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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                     4:14CR3114

       vs.
                                                                      ORDER
SONIA HERNANDEZ, AND FREDDY
HERNANDEZJR.,

                     Defendants.


       The government has moved to continue the trial currently set for January 25, 2016.
(Filing No. 104). As explained in the motion, a change of plea hearing for co-defendant Freddy
Hernandez is scheduled to be held on February 17, 2016, and until that anticipated plea is
accepted, the possibility remains that both defendants may go to trial. Defendants should be
tried together. The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      The government’s motion to continue, (filing no. 104), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable John M. Gerrard, United States District Judge, in Courtroom 1, United
              States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on March 7, 2016, or as soon
              thereafter as the case may be called, for a duration of five (5) trial days. Jury
              selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the government’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, as to both defendants, the additional time arising as a result
              of the granting of the motion, the time between today’s date and March 7, 2016,
              shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because failing to grant additional time
              might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

              January 14, 2016.                     BY THE COURT:

                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
